          Case 3:14-cv-05835-RJB Document 24 Filed 03/09/15 Page 1 of 17



1                                                                         The Honorable Robert J. Bryan
2

3

4

5                            IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
6
                                         AT SEATTLE
7

8    MARGARET DIBB, on behalf of herself and on            NO. 3:14-CV-05835-RJB
     behalf of others similarly situated,
9
                                             Plaintiff,    PLAINTIFF’S OPPOSITION TO
10
                                                           DEFENDANT’S MOTION FOR
11          vs.                                            SUMMARY JUDGMENT
12   ALLIANCEONE MANAGEMENT                                NOTE ON MOTION CALENDAR:
     RECEIVABLES,                                          March 13, 2015
13
                                          Defendants.
14                                                         ORAL ARGUMENT REQUESTED

15                                            I. INTRODUCTION
16
            Defendant has filed a motion for summary judgment, arguing plaintiff Margaret Dibb’s claims
17
     are barred by the one-year statute of limitations governing claims made under the Fair Debt
18
     Collection Practices Act, 15 U.S.C. §§ 1692, et seq. (FDCPA). Plaintiffs oppose this motion on
19
     multiple grounds. First, a decision on this motion should be deferred until after the Court decides
20
     whether plaintiff will be permitted to file a First Amended Complaint. On its merits, defendant’s
21
     motion fails because there is no admissible evidence that the Notice of Dishonor of Check was mailed
22
     to plaintiff more than a year prior to the filing of this lawsuit. Additionally, even if the Notice of
23
     Dishonor were mailed more than one year prior to the filing of the lawsuit, Plaintiff did not discover
24
     the Notice until it was served on her in 2014 in a state court collection action. Finally, by serving
25

26

27                                                                                 Northwest Consumer Law Center
                                                                                          520 EAST DENNY WAY
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION                                     SEATTLE, WASHINGTON 98122
28   FOR SUMMARY JUDGMENT - 1                                                                (206) 805-0989
                                                                                           FAX (866) 526-9994
           Case 3:14-cv-05835-RJB Document 24 Filed 03/09/15 Page 2 of 17



1
     plaintiff in 2014 with the Notice of Dishonor, defendant committed a new FDCPA violation from
2
     which a new statute of limitations runs.               Also, to the extent that there are factual questions
3
     surrounding the newly-revealed fact that the Notice of Dishonor was allegedly mailed in 2012 by a
4
     non-party, Plaintiffs are entitled to time to conduct discovery concerning the alleged mailing. For all
5
     these reasons, Defendant’s motion should be denied.
6

7                                                    II. BACKGROUND
8
             In 2012, Plaintiff Dibb moved to Vashon Island, Washington. Declaration of Margaret Dibb, ¶
9
     4.1 Upon moving to Washington Dibb purchased license plates and tabs for her vehicle from the
10
     Washington State Department of Licensing (“DOL”) using a personal check in the amount of $90.25.
11
     See Dibb Decl., ¶ 5.
12
             In July 2013, Dibb went to the DOL to renew her tabs, and found out that she could not renew
13
     her tabs because her check from the previous year had been dishonored. Id., ¶ 6. Dibb was told by
14
     the DOL clerk that the debt had been sent to collection agency called AllianceOne and she would
15
     need to contact them to pay the amount of the dishonored check plus interest before she would be
16
     allowed to renew her tabs. Id., ¶ 7.
17
             Dibb then called AllianceOne. Id.,¶¶ 6-7. The debt collector with whom she spoke initially
18
     told her that if she paid $98.77, which included the amount of the dishonored check and interest to
19
     date, she would be able to renew her tabs. Id.,¶ 8. However, the collector then changed his story and
20
     told Dibb that, unfortunately, her matter had been sent to AllianceOne’s attorneys and there would be
21
     hundreds more in fees. Id, Dibb requested to speak with the attorneys about the lawsuit, but the
22
     collector refused to connect her. Dibb then requested to speak with a Supervisor. Id.,¶¶ 9-10. The
23
     Supervisor affirmed what the collector had told Dibb about the account being sent to legal. Id.,¶¶ 10-
24

25
     1. Declaration of Margaret Dibb will be cited as Dibb Decl. hereinafter.
26

27                                                                                       Northwest Consumer Law Center
                                                                                                520 EAST DENNY WAY
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION                                           SEATTLE, WASHINGTON 98122
28   FOR SUMMARY JUDGMENT - 2                                                                      (206) 805-0989
                                                                                                 FAX (866) 526-9994
           Case 3:14-cv-05835-RJB Document 24 Filed 03/09/15 Page 3 of 17



1
     12. Dibb told the supervisor that she disputed that she owed any amount over $98.77. Id.,¶ 11. She
2
     finally agreed to pay only the $98.77. Id.,¶ 14.
3
             The DOL renewed Dibb’s tabs when she presented the receipt for $98.77. Id., ¶ 14. Ms. Dibb
4
     called AllianceOne that day to attempt to resolve the matter and to attempt to get in contact with
5
     AllianceOne’s attorneys. Id.,¶ 13. She was told that a lawsuit have been filed against her, but
6
     AllianceOne refused to connect her with its attorneys or provide her with a phone number for the
7
     legal department. Id.,¶¶ 10-15.
8
             On October 24, 2013, AllianceOne served Dibb with a Summons and Complaint. Id., ¶ 15.
9
     Defendant does not claim that it attempted to contact Plaintiff at any time between the July 10, 2103
10
     phone calls and the service of the state court collection lawsuit.
11
             Dibb was shocked when she was served, because in the July 10, 2013 phone calls, had asked
12
     that AllianceOne’s lawyers contact her and had not heard from them. Id., ¶ 11. In addition, because
13
     AllianceOne had not tried to contact her since her payment of $98.77, she believed that AllianceOne
14
     had terminated its collection efforts. Id.¶ 15.
15
             Dibb timely responded to the state law complaint on November 8, 2013. In her response Dibb
16
     denied that she owed the debt and stated that she had paid in full the amount due.
17
             On September 15, 2014, AllianceOne filed a Motion for Summary Judgment in King County
18
     District Court, Cause# 133-15386, alleging it was entitled to a judgment of $710.93 against Dibb.
19
     Attached to that Motion was the Declaration of Plaintiff (AllianceOne) which included the Notice of
20
     Dishonor of Check (“NOD”), dated September 25, 2012.2 This was the first time that Dibb had seen
21
     the NOD. Even if the NOD was really mailed in 2012, Ms. Dibb has periodic problems receiving
22
     mail because she lives in a rural area and shares a mailbox.                  Id., at ¶¶ 16-17; Declaration of
23
     Christopher Cain, filed herewith.
24

25
     2. A copy of the Notice of Dishonor of Check was served with the state court Motion for Summary Judgment is
     attached to the Declaration of Kathleen Box as Exhibit 1.
26

27                                                                                            Northwest Consumer Law Center
                                                                                                     520 EAST DENNY WAY
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION                                                SEATTLE, WASHINGTON 98122
28   FOR SUMMARY JUDGMENT - 3                                                                           (206) 805-0989
                                                                                                      FAX (866) 526-9994
           Case 3:14-cv-05835-RJB Document 24 Filed 03/09/15 Page 4 of 17



1
             The NOD contains the following paragraph:
2
             The NOD that Defendant claims it sent Dibb contained the following language:
3            You are also CAUTIONED that law enforcement agencies may be provided
             with a copy of this notice of dishonor and the check drawn by you for the
4
             possibility of proceeding with criminal charges if you do not pay the amount
5
             of this check within thirty days after the date this letter is postmarked.3

6
                                      III. LAW AND ARGUMENT
7
     A.      Summary Judgment Standard
8

9
             Summary judgment is appropriate when the record shows that there is no genuine issue of fact

10   and the moving party is entitled to judgment as a matter of law. Fed.R.Civ. P. 56(c); Anderson v.

11   Liberty Lobby, Inc., 477 U.S. 242, 247, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986). The moving party
12
     has the initial burden of showing that no genuine issue of material fact exists. Celotex Corp. v.
13
     Catrett, 477 U.S. 317, 323, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986); U.S. v. Carter, 906 F.2d 1375,
14
     1376 (9th Cir.1990). When a properly supported motion for summary judgment is made, the burden
15
     then shifts, and the opposing party must set forth specific facts showing that there is a genuine issue
16

17   for trial. Anderson, 477 U.S. at 250, 106 S.Ct. 2505. When viewing the evidence at this stage, all

18   justifiable inferences are drawn in favor of the nonmoving party. Id., at 255, 106 S.Ct. 2505.
19
     B.      In the Interest of Judicial Economy, this Motion Should Be Denied or Deferred, Since
20           Plaintiff Is in the Process of Filing an Amended Complaint

21
             In February 2015, Plaintiff’s counsel was contacted by Shauna Ovist who received a Notice of

22
     Dishonor of Check, mailed by AllianceOne in August or September 2014, containing a false threat of

23   prosecution. Ms. Ovist is seeking to join this lawsuit as a representative plaintiff. Plaintiff has asked

24   Defendant to stipulate to the filing of a First Amended Complaint, which adds a new plaintiff and a

25
     3. Box Decl., Ex. 1.
26

27                                                                                   Northwest Consumer Law Center
                                                                                            520 EAST DENNY WAY
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION                                       SEATTLE, WASHINGTON 98122
28   FOR SUMMARY JUDGMENT - 4                                                                  (206) 805-0989
                                                                                             FAX (866) 526-9994
           Case 3:14-cv-05835-RJB Document 24 Filed 03/09/15 Page 5 of 17



1
     new claim.4 If Defendant will not stipulate to its filing in the next few days, Plaintiff will file a
2
     Motion for Leave to File an Amended Complaint Pursuant to Fed.R.Civ.P 15(a)(2). It makes sense to
3
     first decide which complaint will be the operative pleading before deciding a motion for summary
4
     judgment in this action. Therefore, Plaintiff requests, in the interest of judicial economy, that
5
     Defendant’s motion be denied without prejudice, or deferred, until the after the issue of the filing of
6
     the First Amended Complaint is resolved.
7
     C.      Summary Judgment Should Be Denied because there Is No Admissible Evidence that the
8
             Notice of Dishonor Was Mailed to Ms. Dibb in 2012
9
             This lawsuit is based on a Notice of Dishonor of Check (NOD) that Plaintiff first saw in
10
     September 2014.        Dibb Decl., ¶ 16.   AllianceOne claims that a NOD was mailed to Dibb on
11

12
     September 25, 2012. Ms. Dibb denies ever receiving that mail, or seeing the NOD until it was served

13   as an exhibit in support of AllianceOne’s state court Motion for Summary Judgment. Dibb Decl. ¶

14   16. To prevail, AllianceOne must prove, by admissible evidence, that there is no genuine issue of
15
     material fact that Ms. Dibb knew, or should have known, of the NOD more than one year prior to
16
     filing this lawsuit.     AllianceOne has not submitted admissible evidence establishing this as an
17
     undisputed fact, and therefore its motion must be denied.
18
             The evidence that the NOD was mailed to Ms. Dibb in 2012 is hearsay, since there is no
19

20   testimony from a person with personal knowledge that the NOD was mailed in 2012. Defendant

21   seems to seek admission of this evidence under the “business records” exception to the prohibition
22
     against hearsay evidence. The federal business records exception is embodied in Fed.R.Ev. 803(6),
23
     which provides:
24

25
     4. See Declaration of Kathleen Box.
26

27                                                                                 Northwest Consumer Law Center
                                                                                          520 EAST DENNY WAY
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION                                     SEATTLE, WASHINGTON 98122
28   FOR SUMMARY JUDGMENT - 5                                                                (206) 805-0989
                                                                                           FAX (866) 526-9994
          Case 3:14-cv-05835-RJB Document 24 Filed 03/09/15 Page 6 of 17



1           (6) Records of a regularly conducted activity. A record of an act, event, condition, opinion, or
            diagnosis if:
2

3
               (A) the record was made at or near the time by--or from information transmitted by--
                   someone with knowledge;
4
               (B) the record was kept in the course of a regularly conducted activity of a business,
5                  organization, occupation, or calling, whether or not for profit;
6
               (C) making the record was a regular practice of that activity;
7
               (D) all these conditions are shown by the testimony of the custodian or another qualified
8                  witness, or by a certification that complies with Rule 902(11) or (12) or with a statute
                   permitting certification; and
9

10
               (E)     the opponent does not show that the source of information or the method or
                     circumstances of preparation indicate a lack of trustworthiness.
11
     Fed.R.Ev. 803(6)
12
            The foundational requirement in Fed.R.Ev. 803(6) dictates that offered records be
13
     authenticated by testimony from a custodian or other qualified witness from the business. Hudson v.
14
     Martingale Invs., LLC (In re Hudson), 504 B.R. 569, 575, (B.A.P. 9th Cir. 2014). A document kept
15
     in the regular course of business, but not made by the business, can still qualify as a business record
16
     of the enterprise, if there is testimony that the document was kept in the regular course of business
17
     and the business regularly relied on the document. United States v. Childs, 5 F.3d 1328, 1334 (9th
18
     Cir. 1993).     In Childs, the Ninth Circuit held that documents prepared by third parties and
19
     incorporated into the records of an auto dealership were properly admitted based on witness
20
     testimony that the documents were kept in the regular course of the dealership's business and were
21
     relied upon by the dealership.      Id, Emphasis added.       Each of these elements is critical to
22
     admissibility. In Hudson, the Sales Report, needed to establish the time of the sale, was excluded
23
     from evidence because it had been created by a third party, and there was no testimony from the
24
     dealership seeking its admission that the Sales Report was kept in the regular course of the
25

26

27                                                                                 Northwest Consumer Law Center
                                                                                          520 EAST DENNY WAY
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION                                     SEATTLE, WASHINGTON 98122
28   FOR SUMMARY JUDGMENT - 6                                                                (206) 805-0989
                                                                                           FAX (866) 526-9994
           Case 3:14-cv-05835-RJB Document 24 Filed 03/09/15 Page 7 of 17



1
     dealership’s business and relied upon by the dealership. Hudson, 504 B.R. 569 at 576, emphasis in
2
     the original.
3
             Defendant relies on the declaration of AllianceOne employee Kara Collett to lay a foundation
4
     for the admissibility of the NOD as containing evidence that it was mailed to Ms. Dibb on September
5
     25, 2012. According to Defendant, the NOD was generated by an unidentified off-site vendor that is
6
     responsible for printing and mailing the Notices. This is undoubtedly a high-volume operation, as
7
     AllianceOne describes itself as “As a leading provider of receivables management [e.g. collections]
8
     and contact center solutions. . .”5 Nowhere does Ms. Collett testify that the NOD is maintained in the
9
     regular course of Defendant’s business, or that Defendant relies upon its accuracy in its business. In
10
     fact, Ms. Collett does not even explain how or when it received a copy of the NOD from the unnamed
11
     vendor. Following Hudson, the absence of this testimony means that the NOD is inadmissible to
12
     prove when it was mailed. The flaws in Defendant’s attempt to use the NOD as evidence do not end
13
     there. There is no testimony about the time of creation of the NOD, required by Fed.R.Ev. 806(3)(A),
14
     or that making this record is a regular practice of the third party vendor, as required by Fed.R.Ev.
15
     803(3)(C). There is also no testimony about how or when Defendant received a copy of the NOD, or
16
     how or where it was maintained until filed with the Court.
17
             Finally, there is reason to doubt the trustworthiness of the evidence regarding the date of
18
     mailing of the NOD. The declaration of mailing contains what has the look of a machine-printed
19
     signature, which would be consistent with the process of having an outside vendor printing and
20
     mailing a high volume of notices. It is also impossible to decipher the name of the purported
21
     declarant, and defendant has not even disclosed the name of the vendor that allegedly printed and
22
     mailed the NOD.
23

24

25
     5. See http://www.allianceoneinc.com/services-solutions.
26

27                                                                                Northwest Consumer Law Center
                                                                                         520 EAST DENNY WAY
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION                                    SEATTLE, WASHINGTON 98122
28   FOR SUMMARY JUDGMENT - 7                                                               (206) 805-0989
                                                                                          FAX (866) 526-9994
          Case 3:14-cv-05835-RJB Document 24 Filed 03/09/15 Page 8 of 17



1
            If the signature is machine-printed the declaration is inadmissible as evidence of the date of
2
     mailing. Pursuant to 28 U.S.C. § 1746, an unsworn declaration under penalty of perjury may be
3
     submitted in lieu of a sworn affidavit, but the declaration must actually be signed by the declarant.
4
     Feezor v. Excel Stockton, LLC, 2013 U.S. Dist. LEXIS 142715, 8, 2013 WL 5486831 (E.D. Cal.
5
     Sept. 28, 2013) (the probative force of a declaration subscribed under penalty of perjury derives from
6
     the signature of declarant.); Ellington v. Alameida, 2010 U.S. Dist. LEXIS 66472, 22, 2010 WL
7
     2650632 (E.D. Cal. July 1, 2010) (declarations containing only typed signatures have no evidentiary
8
     value); Tomasian v. C.D. Peacock, Inc., 2012 U.S. Dist. LEXIS 91795, 6, 2012 WL 2590493 (N.D.
9
     Ill. July 3, 2012) (declaration requires an original signature; an electronic signature does not comply
10
     with 28 U.S.C. § 1746); See also, Dremak v. Iovate Health Scis. Group, Inc. (In re Hydroxycut
11
     Mktg. & Sales Practices Litig.), 2014 U.S. Dist. LEXIS 27670, 69 (S.D. Cal. Mar. 3, 2014); Shepard
12
     v. Shinseki, 2014 U.S. Dist. LEXIS 90441, 11, 2014 WL 2960384 (D. Nev. June 30, 2014). Here,
13
     there is a legitimate question concerning the signature on the NOD. In the absence of undisputed
14
     evidence of a 2012 mailing, the statute of limitations did not begin to run until 2014, when Ms. Dibb
15
     first saw the NOD as an exhibit to the state court Motion for Summary Judgment filed by
16
     AllianceOne. She filed her Complaint well within the statute of limitations.
17

18
     D.     To the Extent that the Court Has Questions Regarding the Bona Fides of the Notice of
19          Dishonor, this Motion Should Be Denied or Continued to Permit Plaintiff an
            Opportunity to Conduct Discovery
20
            Pursuant to Fed.R.Civ.P. 56(d), the Court may defer ruling on, or deny, a motion for summary
21
     judgment to allow further discovery, where the party opposing summary judgment identifies specific
22
     facts that further discovery would reveal, and explains why those facts would preclude summary
23
     judgment. Tatum v. City & County of San Francisco, 441 F.3d 1090, 1100 (9th Cir. 2006). Here, the
24
     substance of the NOD is the subject of this lawsuit. The sole basis for the present summary judgment
25
     motion is Defendant’s claim that the NOD was mailed to Plaintiff in 2012. Plaintiff denies ever
26

27                                                                                  Northwest Consumer Law Center
                                                                                           520 EAST DENNY WAY
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION                                      SEATTLE, WASHINGTON 98122
28   FOR SUMMARY JUDGMENT - 8                                                                 (206) 805-0989
                                                                                            FAX (866) 526-9994
           Case 3:14-cv-05835-RJB Document 24 Filed 03/09/15 Page 9 of 17



1
     having received the NOD until 2014. The only evidence of mailing is the declaration of mailing
2
     contained in the NOD, which, as pointed out above is improperly authenticated and contains
3
     inadmissible hearsay regarding the date of its mailing.
4
              Until this motion was filed last month, neither Plaintiff nor her counsel knew that the NOD
5
     was prepared and mailed by an unidentified third party vendor. Now that Defendant has disclosed
6
     this, Plaintiff can subpoena records or testimony from the vendor to ascertain whether the declaration
7
     of mailing was actually signed by the person who mailed the NOD, and further establish that there is
8
     a genuine issue of disputed fact as to when, if ever, the NOD was mailed.6 Therefore, unless the
9
     Court sustains Plaintiff’s objection to admissibility of the NOD to establish the date of its mailing,
10
     Plaintiff requests that the summary judgment motion be denied or continued for a period sufficient for
11
     her to conduct discovery concerning the alleged 2012 mailing of the NOD.7
12

13
     E. Defendant’s Motion Should Be Denied because the Statute of Limitations on the Notice of
        Dishonor, Allegedly Mailed in 2012, Did Not Begin to Run until September 2014, when Ms.
14      Dibb First Saw the Notice

15                1.   The Discovery Rule Applies to the Violations Alleged in this Lawsuit

16            Assuming, arguendo, that the original NOD was mailed in 2012, under the discovery rule, the

17   statute of limitations does not begin to run until the plaintiff knows or has reason to know of the

18   injury that is the basis of the action. Mangum v. Action Collection Serv., Inc., 575 F.3d 935, 940 (9th

19   Cir. 2009). Thus, under this “discovery rule” a consumer whose rights under the FDCPA are violated

20   by a debt collector has one year from the date that he or she discovers or should have discovered the

21   violative conduct to file a lawsuit. 15 U.S.C. § 1692k(d).8

22

23

     6. Plaintiff assumes that Defendant will voluntarily provide the vendor’s name and contact information.
24
     7. This request is supported by the Declaration of Kathleen Box, filed herewith.
     8. If there is a factual dispute about whether the plaintiff knew or had reason to know of the specific injury,
25
     summary judgment must be denied. Norman-Bloodsaw v. Lawrence Berkeley Lab., 135 F.3d 1260, 1266 (9th
     Cir. 1998).
26

27                                                                                                 Northwest Consumer Law Center
                                                                                                           520 EAST DENNY WAY
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION                                                      SEATTLE, WASHINGTON 98122
28   FOR SUMMARY JUDGMENT - 9                                                                                 (206) 805-0989
                                                                                                            FAX (866) 526-9994
          Case 3:14-cv-05835-RJB Document 24 Filed 03/09/15 Page 10 of 17



1
               In Mangum, the crux of the FDCPA violation was that the debt collector had unlawfully
2
     disclosed the plaintiff’s private financial information to a third party. The district court dismissed the
3
     FDCPA claim on the ground that the lawsuit was filed more than one year from the date of
4
     disclosure. The Ninth Circuit reversed the district court, holding that the statute of limitations did not
5
     begin to run until the plaintiff first learned of the unauthorized disclosure, which was less than one
6
     year prior to the date the complaint was filed. Mangum, 575 F.3d at 941.
7
               In Tourgeman v. Collins Fin. Servs., 2011 U.S. Dist. LEXIS 81070, 19-20, 2011 WL 3176453
8
     (S.D. Cal. July 26, 2011) the district court applied the discovery rule in an FDCPA case where the
9
     facts are markedly similar to those before this Court. In Tourgeman, the plaintiff sued the defendant
10
     debt collectors, in part, for mailing him collection letters that misidentified the original creditor, in
11
     violation of the FDCPA. The misleading collection letters allegedly were mailed more than a year
12
     before plaintiff filed his FDCPA lawsuit. Plaintiff did not learn he was being pursued for this debt
13
     until his father was served with a collection lawsuit that had been filed against plaintiff. Since
14
     plaintiff did not previously know that he was being pursued by debt collectors about this alleged debt,
15
     he could not reasonably have become aware of the false and misleading representations in defendants'
16
     collection letters, until the collection lawsuit was served. Following Mangum, the district court
17
     denied defendants’ motion to dismiss based on statute of limitations grounds, because the plaintiff
18
     filed his lawsuit within one year of discovering that defendants had mailed him letters that violated
19
     the FDCPA, even though the filing was more than one year after the letters were originally mailed.
20
     Ibid .9
21

22

23
     9. The court also ruled that plaintiff had adequately alleged that the debt collectors violated the FDCPA by
24   mailing the deceptive letters, even though he denied ever having received them. The violation was complete
     upon the mailing of collection letters that violated the FDCPA. It was not necessary that the plaintiff receive
25   them. See Tourgeman v. Collins Fin. Servs., 2011 U.S. Dist. LEXIS 81070, 13 and cases cited therein.

26

27                                                                                                  Northwest Consumer Law Center
                                                                                                            520 EAST DENNY WAY
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION                                                       SEATTLE, WASHINGTON 98122
28   FOR SUMMARY JUDGMENT - 10                                                                                 (206) 805-0989
                                                                                                             FAX (866) 526-9994
          Case 3:14-cv-05835-RJB Document 24 Filed 03/09/15 Page 11 of 17



1
             The district court ultimately granted summary judgment for defendants on the merits.
2
     Tourgeman v. Collins Fin. Servs., 2012 U.S. Dist. LEXIS 127815 (S.D. Cal. Aug. 29, 2012). The
3
     Ninth Circuit reversed, and directed entry of judgment for plaintiff. It affirmed that the statute of
4
     limitations only began to run after plaintiff was put on notice of the violation by service of the state
5
     court collection lawsuit. Tourgeman v. Collins Fin. Servs., 755 F.3d 1109, 1118, n.5 (9th Cir. 2014).
6
     The Ninth Circuit also ruled that even though he had never received the deceptive letters, plaintiff had
7
     standing to sue defendants for sending them. Id., at 1114-1118.
8
             Here, the facts of Ms. Dibb’s claim squarely line up with those in Tourgemen. Defendant
9
     claims that in 2012 it sent the Notice of Dishonor containing the unlawful threat that is the subject of
10
     this lawsuit. Ms. Dibb did not receive the Notice at the time it was allegedly sent. Dibb Decl., ¶ 16.
11
     Instead, she first learned of the Notice after it was served as an exhibit to a summary judgment
12
     motion filed in a state court collection action on September 16, 2014. Id. Following Mangum, the
13
     statute of limitations did not begin to run until plaintiff discovered the facts that constitute the
14
     FDCPA violation. Even if she should have conducted an investigation into the facts underlying the
15
     state court lawsuit after she was served, service was not until October 24, 2013, which is still within
16
     the one-year statute of limitations. Since Ms. Dibb filed this lawsuit on October 20, 2014, the statute
17
     of limitations does not bar her claims.
18               2. Plaintiff Satisfied any Duty of Inquiry She Had Arising from the July 2013 Phone
19
                     Communications with AllianceOne
             AllianceOne’s argument that Ms. Dibb should have learned of the FDCPA violation from a
20
     phone call in July 2013, belies the facts and legal standard. During a series of phone calls,10
21
     AllianceOne told Plaintiff that she had been sued. Ms. Dibb then asked to be connected to the legal
22
     department to find out about the lawsuit. Defendant refused to connect her. After the July 10, 2013
23

24

25
     10. AllianceOne mentions only one phone call. Ms. Dibb has testified to a series of phone calls on July 10,
     2013.
26

27                                                                                               Northwest Consumer Law Center
                                                                                                         520 EAST DENNY WAY
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION                                                    SEATTLE, WASHINGTON 98122
28   FOR SUMMARY JUDGMENT - 11                                                                              (206) 805-0989
                                                                                                          FAX (866) 526-9994
          Case 3:14-cv-05835-RJB Document 24 Filed 03/09/15 Page 12 of 17



1
     phone calls Ms. Dibb thought the matter was resolved, and she did not hear again from AllianceOne
2
     until, three months later, when she was served with a summons and complaint on October 24, 2013.
3
     Dibb Decl. ¶¶ 9-15.
4
             To the extent that Ms. Dibb had a duty of inquiry after she was told there was a lawsuit
5
     against her, she satisfied that duty by asking to be connected to the legal department.11 At that point,
6
     AllianceOne, which had sole knowledge of the NOD, frustrated Plaintiff’s attempt to gain more
7
     information and refused to connect her. Even if she had been connected to the legal department, and
8
     obtained a copy of the lawsuit, she would not have learned about the NOD. AllianceOne did not
9
     make any reference to the NOD in its complaint and did not file the NOD as an exhibit to the
10
     complaint.12 AllianceOne’s bare contention that she would have been provided the NOD had she
11
     requested documents related to the collection action is not supported by evidence.
12
             Finally, if there is a dispute about what was said during the phone calls, summary judgment
13
     must also be denied. In Norman-Bloodsaw, 135 F.3d at 1267, the Ninth Circuit explained that when
14
     it is unclear what the plaintiff s should have expected or foreseen, summary judgment dismissal based
15
     on the statute of limitations is not proper. There, the plaintiffs complained that the defendant violated
16
     the ADA when it performed certain tests without the legal right to do so. Id., at 1265. The district
17
     court dismissed on summary judgment, holding that the claims were time barred. Id., It reasoned
18
     that a questionnaire the plaintiffs completed outside the statute of limitations and prior to testing,
19
     gave them insight into the testing that may be performed, even though it did not specifically state the
20
     test that would be completed. Id. The Ninth Circuit overturned the district court. Id., at 1266-67. It
21
     pointed to the plaintiffs’ declarations, which “clearly” stated that they did not know the testing that
22
     would be done when filing out the questionnaire. Id., The Court also noted that what the plaintiffs
23
     should have expected was largely dependent on “what, if anything, the plaintiffs were told to expect.”
24

25
     11. Defendant does not contend that the Notice of Dishonor of Check was disclosed during the phone call.
     12. See Complaint, Exhibit 2 to Box Decl.
26

27                                                                                              Northwest Consumer Law Center
                                                                                                       520 EAST DENNY WAY
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION                                                  SEATTLE, WASHINGTON 98122
28   FOR SUMMARY JUDGMENT - 12                                                                            (206) 805-0989
                                                                                                        FAX (866) 526-9994
         Case 3:14-cv-05835-RJB Document 24 Filed 03/09/15 Page 13 of 17



1
     Id., Here, as in Norman-Bloodsaw, if there is a factual dispute about what was said during the July
2
     10, 2014 phone calls, summary judgment must be denied.
3
                3. The Court Must Reject Defendant’s Argument that It Ignore Binding Ninth
4                  Circuit Precedent

5
            Defendant argues that the discovery rule does not apply to the FDCPA violations because 15

6
     U.S.C. § 1692k(d) sets a one year statute of limitations from the date of the violation, and that this

7    statute overrides the discovery rule. In support of its argument, defendant relies on TRW Inc. v.

8    Andrews, 534 U.S. 19, 33, 122 S. Ct. 441, 450, 151 L. Ed. 2d 339 (2001), in which the Supreme

9    Court rejected application of the discovery rule in a case brought under the Fair Credit Reporting Act.

10   However, in Mangum v. Action Collection Serv., Inc., 575 F.3d at 941, in a case brought under the

11   FDCPA, the Ninth Circuit considered and rejected TRW, Inc. as limiting the application of the

12   discovery rule. The discovery rule is intended to ameliorate the harsh effects of legislatively-enacted

13   limitations periods over which plaintiffs have no control. In re Park West Galleries, Inc. Mktg. &

14   Sales Practices Litig., 2010 U.S. Dist. LEXIS 64693, 7, n. 1 (W.D. Wash. June 25, 2010). Indeed, it

15   makes little sense to shorten the de facto statute of limitations by starting the clock ticking long

16   before the plaintiff knows, or should know, that a defendant has violated her rights. Courts in the

17   Ninth Circuit have had no problem following Mangum and applying the discovery rule in cases

18   brought under the FDCPA. Tourgeman v. Collins Fin. Servs., 755 F.3d 1109, 1118, (9th Cir. 2014)

19   (affirming district court applying discovery rule where FDCPA violation was sending deceptive

20   collection letters); Greco-Rambo v. Prof'l Collection Consultants, 2011 U.S. Dist. LEXIS 95328, 8,

21   2011 WL 3759676 (S.D. Cal. Aug. 25, 2011) (discovery rule applies to FDCPA claims brought under

22   15 U.S.C. § 1692e and sub-sections); Huy Thanh Vo v. Nelson & Kennard, 931 F. Supp. 2d 1080,

23   1087 (E.D. Cal. 2013) (discovery rule applies to FDCPA action based on obtaining judgment against

24   non-liable party.); Townsend v. Nat'l Arbitration Forum, Inc., 2012 U.S. Dist. LEXIS 590, 33, 2012

25   WL 12736 (C.D. Cal. Jan. 4, 2012) (discovery rule applies to FDCPA action alleging violations of 15

26

27                                                                                 Northwest Consumer Law Center
                                                                                          520 EAST DENNY WAY
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION                                     SEATTLE, WASHINGTON 98122
28   FOR SUMMARY JUDGMENT - 13                                                               (206) 805-0989
                                                                                           FAX (866) 526-9994
          Case 3:14-cv-05835-RJB Document 24 Filed 03/09/15 Page 14 of 17



1
     U.S.C. § 1692e); Tate v. Bennett Law, PLLC, 2013 U.S. Dist. LEXIS 57724, 14, 2013 WL 1751289
2
     (D. Or. Apr. 22, 2013) (discovery rule applies to FDCPA action alleging violations of 15 U.S.C. §§
3
     1692d and 1692e(11)); Coleman v. Daniel N. Gordon, P.C., 2011 U.S. Dist. LEXIS 146329, 9 (E.D.
4
     Wash. Dec. 12, 2011) (discovery rule applies to FDCPA action alleging violations of 15 U.S.C. §
5
     1692i in connection with writ of garnishment).
6
     F.       The Notice of Dishonor Served on Ms. Dibb on September 17, 2014 as an Exhibit to a
7
              State Court Motion, Constitutes a New FDCPA Violation, within the Statute of
8             Limitations

9             Even if Defendant mailed a NOD in 2012, it sent Plaintiff the Notice of Dishonor again in

10   September 2014. This second mailing constitutes a new violation of the FDCPA, occurring well

11   within the statute of limitations. Ms. Dibb first saw the Notice of Dishonor after it was served on her

12   attorney on September 16, 2014. The Notice was attached as an exhibit to AllianceOne’s motion for

13   summary judgment filed in the state court collection action. The service of the motion, including the

14   exhibit, constituted a communication made in connection with an attempt to collect a debt, actionable

15   under the FDCPA. This lawsuit was filed less than five weeks later, on October 20, 2014. This is

16   within the FDCPA one-year statute of limitations. 15 U.S.C. § 1692k(d).

17            Litigation activities are covered by the FDCPA. Heintz v. Jenkins, 514 U.S. 291, 294, 115 S.

18   Ct. 1489, 1490 (1995); Donohue v. Quick Collect, Inc., 592 F.3d 1027, 1032, (9th Cir.2010). Any

19   argument by defendant that the second letter attached to AllianceOne’s state court summary judgment

20   motion against plaintiff is not actionable because the motion was sent to plaintiff’s attorney, rather

21   than plaintiff, would be mistaken.13 The U.S. Supreme Court decided this issue in Heintz v. Jenkins.

22

23   13. In Guerrero v. RJM Acquisitions LLC, 499 F.3d 926, 936, (9th Cir. 2007), (Fletcher, J. dissenting), the
     appellate panel ruled that communications directed only to a debtor's attorney, and unaccompanied by any threat
     to contact the debtor are not be covered by the FDCPA. This decision ignores the Supreme Court’s decision in
24
     Heintz v. Jenkins, and if read broadly, conflicts with the other appellate courts that have ruled on this issue. See
     Allen ex rel. Martin v. LaSalle Bank, N.A., 629 F.3d 364, 368 (3rd Cir. 2011); Sayyed v. Wolpoff & Abramson,
25
     485 F.3d 226, 232-33 (4th Cir. 2007); Evory v. RJM Acquisitions Funding LLC, 505 F.3d 769 (7th Cir. 2007)..
     Guerrero should be limited to its facts. In Guerrero, the alleged FDCPA violation was based on sections
26

27                                                                                                   Northwest Consumer Law Center
                                                                                                             520 EAST DENNY WAY
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION                                                        SEATTLE, WASHINGTON 98122
28   FOR SUMMARY JUDGMENT - 14                                                                                  (206) 805-0989
                                                                                                              FAX (866) 526-9994
          Case 3:14-cv-05835-RJB Document 24 Filed 03/09/15 Page 15 of 17



1
     In that case the debt collector attorney argued that the FDCPA did not apply to attorneys engaged in
2
     litigation. A unanimous Court rejected this argument. Id., at 292.
3
              The facts in Heintz are important. As part of an effort to settle a collection lawsuit, a lawyer
4
     for the debt collector wrote to the debtor’s lawyer. The attorney’s letter listed the principal amount
5
     of the debt owed under a car loan agreement, and included $ 4,173 owed for insurance, bought by the
6
     lender because the debtor had not kept the car insured as she had promised to do. Id., at 293. The
7
     debtor, Jenkins, alleged that the insurance policy covered claims unauthorized by the loan agreement,
8
     and then filed suit against the attorney, Heintz, for trying to collect an amount not "authorized by the
9
     agreement creating the debt," § 1692f(1), and against making a "false representation of . . . the . . .
10
     amount . . . of any debt," § 1692e(2)(A). Id., The Supreme Court ruled that this letter to the debtor’s
11
     attorney was actionable under the FDCPA.
12
              Within the Ninth Circuit, at least one court has held that Guerrero applies only to extrajudicial
13
     communications, not to lawsuit filings. In Avery v. Gordon, 2008 U.S. Dist. LEXIS 86811, 24, 2008
14
     WL 4793686 (D. Or. 2008), the court held that Guerrero did not bar an action based on a
15
     counterclaim that a debt collector filed and served in a lawsuit.                        The court reasoned that the
16
     communication was a demand for payment on the debtor, despite the fact that it was served only on
17
     the attorney. Here, Heintz v. Jenkins governs the outcome. By serving a motion on Ms. Dibb’s
18
     attorney in 2014 that included an allegedly false threat of prosecution, AllianceOne engaged in
19

20

21
     1692g(a) and (b) of the Act. Section 1692g(b) requires a debt collector, on request by a debtor, to cease
22   collection of the debt until it has obtained either verification of the debt or a copy of a judgment and provided it
     to the debtor. Guerrero had requested the debt collector to cease communications with him, until the debt
23   collector had verified the debt. Then Guerrero hired an attorney. By letter, Guerrero’s attorney requested the
     debt collector to contact him to resolve the issue. The debt collector responded to the attorney in writing. Then
     Guerrero sued, alleging that that the debt collector failed to verify the debt, before responding to the debtor’s
24
     attorney. The Ninth Circuit could have resolved Guerrero easily, simply by stating that Guerrero’s attorney, as
     the agent for Guerrero, had waived Guerrero’s request to cease contact, when the attorney requested the debt
25
     collector to contact him. The Ninth Circuit cannot overrule the U.S. Supreme Court. By limiting Guerrero to
     its facts, the case can be reconciled with Heintz v. Jenkins.
26

27                                                                                                    Northwest Consumer Law Center
                                                                                                              520 EAST DENNY WAY
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION                                                         SEATTLE, WASHINGTON 98122
28   FOR SUMMARY JUDGMENT - 15                                                                                   (206) 805-0989
                                                                                                               FAX (866) 526-9994
          Case 3:14-cv-05835-RJB Document 24 Filed 03/09/15 Page 16 of 17



1
     conduct that is actionable under the FDCPA. Therefore, its motion for summary judgment must be
2
     denied.
3

4    G.        FDCPA Violations Bared by the Statute of Limitations Remain Per Se Violations of
               Washington’s Consumer Protection Act.
5
               As this Court has already held in this case, AllianceOne’s FDCPA violations are per se
6
     violations of Washington’s Consumer Protection Act 19.86 RCW (“CPA”). Order On Motion to
7
     Dismiss, filed 12/16/2015, p. 6, Docket No. 12, citing Panag v. Farmers Ins. Co. of Wash., 166
8
     Wn.2d 27, 53, 204 P.3d 885 (2009). The fact that an FDCPA claim may be procedurally barred by a
9
     statute of limitations does not prevent an aggrieved consumer from seeking relief under the CPA. As
10
     the Washington Supreme Court explained in Panag, “When a violation of debt collection regulations
11
     occurs, it constitutes a per se violation of the CPA and the FTCA under state and federal law,
12
     reflecting the public policy significance of this industry.” Id. at 53. An FDCPA violation remains a
13
     per se CPA violation, even if a statutory limitations period bars relief under federal law. The statute
14
     of limitations for CPA violations is four years. RCW 19.86.120. Therefore, Plaintiff’s CPA claim is
15
     timely.
16

17
                                              IV. CONCLUSION
18
               WHEREFORE, for the reasons stated above, plaintiff Margaret Dibb respectfully requests that
19
     this Court deny defendant’s Motion for Summary Judgment. In the alternative, Plaintiff request the
20

21   Court to continue Defendant’s Motion until after the issue of filing a First Amended Complaint is

22   resolved, and to continue the motion for four months to permit Plaintiff and opportunity to conduct
23
     discovery regarding the alleged 2012 mailing of a Notice of Dishonor of Check by a non-party
24
     vendor.
25

26

27                                                                                 Northwest Consumer Law Center
                                                                                          520 EAST DENNY WAY
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION                                     SEATTLE, WASHINGTON 98122
28   FOR SUMMARY JUDGMENT - 16                                                               (206) 805-0989
                                                                                           FAX (866) 526-9994
         Case 3:14-cv-05835-RJB Document 24 Filed 03/09/15 Page 17 of 17



1

2    DATED this 9th day of March, 2015.
3
                                           /s/ Kathleen Box
4                                          Kathleen Box             WSBA #45254
                                           Attorney for Plaintiff
5
     DATED this 9th day of March, 2015.
6

7                                          /s/ Samuel R. Leonard
                                           Samuel R. Leonard        WSBA #46498
8                                          Attorney for Plaintiff
9
     DATED this 9th day of March, 2015.
10
                                           /s/ Paul Arons
11                                         Paul Arons               WSBA #47599
                                           Attorney for Plaintiff
12
     DATED this 9th day of March, 2015.
13

14                                         /s/ David A. Leen
                                           David A. Leen            WSBA #3516
15                                         Attorney for Plaintiff
16

17

18

19

20

21

22

23

24

25

26

27                                                                  Northwest Consumer Law Center
                                                                           520 EAST DENNY WAY
     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION                      SEATTLE, WASHINGTON 98122
28   FOR SUMMARY JUDGMENT - 17                                                (206) 805-0989
                                                                            FAX (866) 526-9994
